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     CHRISTINE DiBELLA
11
     *Defense counsel listed after caption
12
                                 UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA
14

15    CHRISTINE DiBELLA,                              CASE NO. 4:21-cv-08461-HSG
                                                      Civil Rights
16           Plaintiff,
                                                      STIPULATION OF SETTLEMENT AND
17           v.                                       ORDER FOR DISMISSAL WITH
                                                      PREJUDICE OF DEFENDANT
18    BOARD OF TRUSTEES OF THE                        COMPASS GROUP USA, INC. dba
      CALIFORNIA STATE UNIVERSITY;                    CHARTWELLS HIGHER EDUCATION
19    COMPASS GROUP USA, INC. dba                     ONLY
      CHARTWELLS HIGHER EDUCATION,
20
             Defendants.
21

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27   Attorneys for Defendant
     BOARD OF TRUSTEES OF THE
28   CALIFORNIA STATE UNIVERSITY
                                                       1
     STIPULATION & ORDER CONTINUING DEADLINES TO FILE AMENDED COMPLAINT & GO 56
     DEADLINES CASE NO. 4:21-cv-08461-HSG
       Case 4:21-cv-08461-HSG Document 41 Filed 05/13/22 Page 2 of 4



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 6   Attorneys for Defendant
     COMPASS GROUP USA, INC., dba
 7   CHARTWELLS HIGHER EDUCATION

 8

 9                                            STIPULATION

10           Plaintiff CHRISTINE DiBELLA (“Plaintiff”) and Defendants BOARD OF TRUSTEES

11   OF THE CALIFORNIA STATE UNIVERSITY (“Government Entity Defendant”); COMPASS

12   GROUP USA, INC. dba CHARTWELLS HIGHER EDUCATION (“Chartwells”) – Plaintiff and

13   Defendants together the “Parties” – hereby stipulate and request that Defendant COMPASS

14   GROUP USA, INC. dba CHARTWELLS HIGHER EDUCATION only be dismissed from this

15   action with prejudice pursuant to FRCP 41(a). Plaintiff and Chartwells have resolved all of

16   Plaintiff’s claims against Chartwells. Accordingly, the Parties hereby stipulate and request the

17   Court to order that all of Plaintiff’s claims in this action against Defendant COMPASS GROUP

18   USA, INC. dba CHARTWELLS HIGHER EDUCATION be dismissed with prejudice, each party

19   to bear its own fees and costs. The Parties request that the Court not dismiss the claims against

20   Defendant BOARD OF TRUSTEES OF THE CALIFORNIA STATE UNIVERSITY which

21   remain active, and which have not been resolved.

22          The Parties request that the Court retain jurisdiction to enforce the injunctive relief

23   measures specified in Exhibit A, attached hereto, pursuant to General Order 56

24          In the event Defendant does not complete the injunctive relief as specified in Exhibit A,

25   Defendant shall have 30 days to correct the deficiencies. After that time, Plaintiff shall be

26   entitled to make a motion to enforce the work contemplated to be done in Exhibit A and shall be

27   entitled to attorney fees and costs for any enforcement action or motion.

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                                                        2
     STIPULATION & ORDER FOR DISMISSAL
     CASE NO. 4:21-cv-08461-HSG
        Case 4:21-cv-08461-HSG Document 41 Filed 05/13/22 Page 3 of 4



 1   IT IS SO STIPULATED.

 2   Date: May 13, 2022                           REIN & CLEFTON
 3
                                                     /s/ Aaron Clefton
 4                                                By AARON CLEFTON, Esq.
                                                  Attorneys for Plaintiff
 5                                                CHRISTINE DiBELLA
 6
     Date: May 13, 2022                           CLYDE & CO US LLP
 7
                                                     /s/ Alison K. Beanum _
 8                                                By ALISON K. BEANUM, Esq.
                                                  Attorney for Defendant
 9                                                BOARD OF TRUSTEES OF THE
                                                  CALIFORNIA STATE UNIVERSITY
10

11
     Date: May 13, 2022                           FISHER & PHILLIPS LLP
12
                                                     /s/ Nathan V. Okelberry _
13                                                By NATHAN V. OKELBERRY, Esq.
                                                  Attorney for Defendants
14                                                COMPASS GROUP USA, INC, dba
                                                  CHARTWELLS HIGHER EDUCATION
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16
                                          FILER’S ATTESTATION
17
             Pursuant to Local Rule 5-1, I hereby attest that I, Aaron Clefton, attorney with Rein &
18
     Clefton, received the concurrence of Nathan V. Okelberry, Esq. and Alison Beanum, Esq. in the
19
     filing of this document.
20
                                                  /s/ Aaron Clefton
21                                                Aaron Clefton
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      STIPULATION & ORDER FOR DISMISSAL
      CASE NO. 4:21-cv-08461-HSG
       Case 4:21-cv-08461-HSG Document 41 Filed 05/13/22 Page 4 of 4



 1                                                ORDER

 2          Pursuant to the stipulation of the parties and for good cause shown, IT IS SO ORDERED.

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     Dated: 5/13/2022
 5                                             Honorable Haywood S. Gilliam, Jr.
                                               U.S. District Court Judge
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     STIPULATION & ORDER FOR DISMISSAL
     CASE NO. 4:21-cv-08461-HSG
